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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                           Eastern Division



UNITED STATES OF AMERICA

-vs-                                      Case No. 1:17-10067-08-STA

DOUG EVANS


                           ORDER TO SURRENDER

       Defendant, Doug Evans, having been sentenced in the above

styled matter to the custody of the Bureau of Prisons, and having

been granted leave by the court to report to the designated

institution at his own expense, is hereby ordered to surrender

himself to the Bureau of Prisons by reporting to: FMC Lexington,

3301 Leestown, Lexington, KY 40511, no later than Thursday,

June 21, 2018 by 12:00 Noon.

       IT IS FURTHER ORDERED that upon receipt of a copy of this Order

the defendant shall sign one copy of this Order in the proper space

below and return it to the Clerk of the Court in the enclosed

stamped self-addressed envelope, acknowledging that he has received

a copy of this Order, and that he will report as ordered to the

facility named above.

       IT IS SO ORDERED this the 29th day of May, 2018.



                                  s/ S. Thomas Anderson
                                  CHIEF U.S. DISTRICT COURT JUDGE
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                             ACKNOWLEDGMENT



I agree to report as directed in the above order and understand that

if I fail to so report, I may be cited for contempt of court and if

convicted, may be punished by imprisonment or fine or both.



Signed and acknowledged before me on _____________________.




________________________                ______________________________

Clerk/Deputy Clerk                      Defendant
